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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

                                         )
  In re Celgene Corporation Securities   )   Case No. 18-cv-04772 (JMV) (JBC)
  Litigation.                            )
                                         )   CLASS ACTION
                                         )
                                         )   ORAL ARGUMENT
                                         )   REQUESTED
                                         )
                                         )

   MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION
    TO MODIFY THE CLASS PERIOD IN LIGHT OF THE SUPREME
   COURT’S RECENT DECISION IN GOLDMAN SACHS GROUP, INC. v.
                ARKANSAS TEACHER RETIREMENT SYSTEM
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                                    INTRODUCTION
         In November 2020, after having dismissed the overwhelming majority of

  claims brought by Lead Plaintiff AMF Pensionsförsäkring AB (“AMF”) in this federal

  securities-fraud action against Defendant Celgene Corporation (“Celgene”) and

  certain of Celgene’s current and former officers and employees, the Court granted

  AMF’s motion for class certification and certified a class consisting of purchasers of

  Celgene stock between April 27, 2017 and April 27, 2018 for what little remains of

  this case.1 Under Federal Rule of Civil Procedure 23(c)(1)(C), “[a]n order that grants

  or denies class certification may be altered or amended before final judgment.” See

  Johnson v. GEICO Cas. Co., 672 F. App’x 150, 157 (3d Cir. 2016) (“‘District courts are

  required to reassess their class rulings as the case develops’ to ensure that the class

  satisfies Rule 23.” (quoting Barnes v. Am. Tobacco Co., 161 F.3d 127, 140 (3d Cir.

  1998))); see also, e.g., Endo v. Albertine, No. 88 C 1815, 1995 WL 170030 (N.D. Ill. Apr.

  7, 1995) (shortening class period for previously certified class). One well-established

  basis for doing so is when the class certification order is inconsistent with a

  subsequent appellate decision. See, e.g., Doe v. Karadzic, 192 F.R.D. 133, 137-39

  (S.D.N.Y. 2000) (decertifying a previously certified class “based on the guidelines set

  forth” in an subsequent Supreme Court opinion); Brady v. Deloitte & Touche LLP, No.



  1
   AMF initially alleged 89 misstatements regarding three of Celgene’s drugs—GED-
  0301, Otezla, and Ozanimod—but all that remains in this case is one statement
  concerning Otezla and six concerning Ozanimod.

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  C 08-177, 2012 WL 1059694 (N.D. Cal. Mar. 27, 2012) (granting defendant’s motion

  to decertify a previously certified class “in light of” subsequent decisions from the

  Ninth Circuit and Supreme Court). Here, based on the Supreme Court’s recent

  decision in Goldman Sachs Group, Inc. v. Arkansas Teacher Retirement System, 141 S. Ct.

  1951 (2021), Defendants respectfully submit that the Court should modify its class

  certification order so that the class period ends on February 27, 2018, instead of April

  27, 2018.

                                     BACKGROUND
         A.     Plaintiff’s Claims
         This motion is narrow in scope, concerning only AMF’s allegations about

  Ozanimod.2 AMF alleges that Defendants’ statements that Celgene intended to

  submit a new drug application (“NDA”) for Ozanimod in 2017 were false or

  misleading, even though Celgene did in fact submit the NDA in 2017, because

  Celgene failed to disclose that it had identified a metabolite—a chemical byproduct

  created when the body breaks down a drug—of Ozanimod that required additional

  testing (the “Metabolite”). AMF contends that, without that testing, the NDA was

  sure to be rejected by the FDA.

         According to AMF, the purportedly fraudulent nature of Defendants’

  statements was revealed in two allegedly corrective disclosures—Celgene’s February


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    This motion will be unaffected by any ruling on AMF’s pending motion for leave to
  file a Third Amended Complaint. See Dkt. Nos. 135, 136.

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  27, 2018 announcement that the FDA had refused to accept the Ozanimod NDA for

  filing, and an April 29, 2018 Morgan Stanley analyst report predicting (incorrectly) that

  the need for additional Metabolite testing could delay resubmission of the Ozanimod

  NDA for another 1-3 years.

         B.     The Court’s Class Certification Ruling
         At class certification, in an effort to satisfy Rule 23(b)(3)’s requirement that

  issues common to the class predominate over individualized ones, AMF invoked the

  fraud-on-the-market presumption of reliance from Basic Inc. v. Levinson, 485 U.S. 224

  (1988), under which reliance—traditionally an individualized element of liability—can

  be presumed on a class-wide basis for stock purchases made in an efficient market.

  But the Basic presumption is not conclusive. It can be rebutted by “any showing that

  severs the link between the alleged misrepresentation and . . . the price received (or

  paid) by the plaintiff.” Halliburton Co. v. Erica P. John Fund, Inc. (“Halliburton II”), 573

  U.S. 258, 269 (2014) (brackets and internal quotation marks omitted). One way

  defendants can rebut the Basic presumption is by showing “that the alleged

  misrepresentation did not actually affect the stock’s price—that is, that the

  misrepresentation had no ‘price impact.’” Id. at 263-64.

         As the vast majority of the alleged Ozanimod misstatements at issue were not

  associated with a statistically significant stock price increase at the time they were

  made (“front-end price impact”), AMF argued that these statements instead

  maintained Celgene’s stock price at an artificially inflated level (the “price


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  maintenance” theory). Under this theory, AMF argued that price impact is

  demonstrated by the decline in the price of Celgene stock that occurred when the

  purported truth was revealed to the market in the two alleged corrective disclosures

  described above (“back-end price impact”): Celgene’s February 27, 2018

  announcement, and Morgan Stanley’s April 29, 2018 report.

        Defendants contested, among other things, that the price decline following the

  April 29, 2018 Morgan Stanley report demonstrated back-end price impact. In

  particular, Defendants argued that they had rebutted the Basic presumption of reliance

  for all purchases made after the February 27, 2018 disclosure of the FDA’s rejection

  of the Ozanimod NDA filing—such that any class period should end on that date—

  because the April 29, 2018 Morgan Stanley report was not actually a corrective

  disclosure.3 In support, Defendants submitted evidence showing that this report’s

  speculative prediction of a 1-3 year delay in resubmitting the Ozanimod NDA was

  based exclusively on information that had been previously publicly disclosed. See, e.g.,

  Dkt. No. 95 at 30-38 & Dkt. Nos. 95-18 through 95-27. Defendants also

  demonstrated that Morgan Stanley published another report only three days later




  3
    Defendants also argued that the class should not include such purchases because the
  February 27, 2018 announcement that the FDA had refused to accept the Ozanimod
  NDA fully corrected the alleged Ozanimod fraud, and therefore investors who
  purchased Celgene stock after that announcement could no longer have relied on the
  alleged misstatements.

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  revising its prediction of a 1-3 year delay downward to “1-1.5yrs,” which was

  consistent with the prior predictions of other analysts. Dkt. No. 95-26.

         The Court declined to consider this evidence on the basis of its understanding

  that Defendants had “the burden to prove a lack of price impact through direct

  evidence.” Class Cert. Opinion at 23 (quoting City of Sterling Heights Gen. Emps’. Ret. Sys.

  v. Prudential Fin., Inc., No. 12-cv-5275, 2015 WL 5097883, at *12 (D.N.J. Aug. 31,

  2015), and further citing W. Palm Beach Police Pension Fund v. DFC Global Corp., No. 13-

  cv-6731, 2016 WL 4138613, at *14 (E.D. Pa. Aug. 4, 2016)). The Court described

  Defendants as “merely attack[ing] Plaintiff’s expert report,” instead of “provid[ing]

  their own evidence demonstrating that the market had already reacted to” the

  previously disclosed information “or otherwise explain[ing] why the price drop

  occurred on April 30,” the trading day following Morgan Stanley’s April 29, 2018

  report. Id. The Court thus rejected Defendants’ argument that the class period

  should end on February 27, 2018, and the Court certified a class consisting of “[a]ll

  persons and entities who purchased the common stock of [Celgene] between April 27,

  2017 . . . and April 27, 2018, and were damaged thereby.” Id. at 25.4



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    The Court’s decision was issued in late November 2020, approximately two weeks
  before the Supreme Court’s December 11, 2020 grant of certiorari in Goldman Sachs.
  On December 14, after the Supreme Court granted certiorari in Goldman Sachs,
  Defendants sought permission from the Third Circuit to appeal under Federal Rule of
  Civil Procedure 23(f). On March 2, 2021, the Third Circuit denied that request
  “without prejudice.” See 3d Cir. Case No. 20-8050, at Doc. No. 11.


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          C.     The Supreme Court’s Goldman Sachs Decision
          On June 21, 2021, the Supreme Court issued its decision in Goldman Sachs, in

   which the Court addressed, for the first time, how the Basic presumption of reliance

   can be rebutted when, as here, the plaintiff relies on a price-maintenance (or inflation-

   maintenance) theory. See 141 S. Ct. 1951.5 The Goldman Sachs “Plaintiffs allege[d] that

   Goldman maintained an artificially inflated stock price” through alleged misstatements

   “about its ability to manage conflicts” of interest. Id. at 1957. According to the

   plaintiffs, “once the truth about Goldman’s conflicts came out, Goldman’s stock price

   dropped and shareholders suffered losses.” Id. The defendants responded by seeking

   to “rebut[] the Basic presumption through evidence that [their] alleged

   misrepresentations actually had no impact on [Goldman’s] stock price.” Id. The

   district court and Second Circuit, however, both concluded that the defendants “failed

   to carry [their] burden of proving a lack of price impact,” and granted and affirmed

   class certification respectively. Id. In evaluating whether the defendants had rebutted

   the Basic presumption of reliance, the Supreme Court emphasized two points in

   particular that bear on this Court’s class certification ruling.

          First, the Goldman Sachs Court instructed that, “[i]n assessing price impact at

   class certification, courts ‘should be open to all probative evidence on that question—



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    The Goldman Sachs Court assumed without deciding that the price-maintenance
   theory is valid. See 141 S. Ct. at 1959 n.1. Defendants likewise do not concede the
   theory’s validity.

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   qualitative as well as quantitative—aided by a good dose of common sense.’” Id. at

   1960 (quoting In re Allstate Corp. Sec. Litig., 966 F.3d 595, 613 n.6 (7th Cir. 2020)). The

   Court made clear that “a court cannot conclude that Rule 23’s requirements are

   satisfied without considering all evidence relevant to price impact.” Id. at 1961.

          Second, the Goldman Sachs Court held that the critical “final inference” of the

   price-maintenance theory—“that the back-end price drop equals front-end inflation—

   starts to break down when there is a mismatch between the contents of the

   misrepresentation and the corrective disclosure.” Id. Under circumstances where “it

   is less likely that the [allegedly corrective] disclosure actually corrected the [earlier]

   misrepresentation, . . . there is less reason to infer front-end price inflation—that is,

   price impact—from the back-end price drop.” Id. (emphasis added).

          Because it had “sufficient doubt” about whether the Second Circuit had

   properly considered all evidence the defendants had advanced to rebut price impact,

   the Goldman Sachs Court vacated the judgment below and remanded with instructions

   that the Second Circuit should “take into account all record evidence relevant to price

   impact.” Id. On remand, the Second Circuit acknowledged “the Supreme Court’s

   clarifications of the legal standard.” Ark. Teacher Ret. Sys. v. Goldman Sachs Grp., Inc., __

   F.4th __, 2021 WL 3776297, at *4 (2d Cir. Aug. 26, 2021). In light of these

   clarifications and because it was “unclear” whether the district court had considered

   all evidence of a lack of price impact, the Second Circuit vacated the district court’s

   class certification order and remanded for further proceedings. Id. In so doing, the

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   Second Circuit instructed the district court to “consider all record evidence relevant to

   price impact and apply the legal standard as supplemented by the Supreme Court.” Id.

                                        ARGUMENT
         This Court of course did not have the benefit of Goldman Sachs when it granted

   AMF’s motion for class certification. But the principles Goldman Sachs sets forth now

   require the class period to be modified to end on February 27, 2018.

         A.     Goldman Sachs Requires Full Consideration of Defendants’
                Evidence Demonstrating that the April 29 Morgan Stanley Report
                Was Not a Corrective Disclosure.
         In opposing class certification, Defendants presented ample evidence that the

   decline in the price of Celgene stock following the April 29, 2018 Morgan Stanley

   report did not represent back-end price impact because the Morgan Stanley report

   was not a corrective disclosure. As described in more detail below, Defendants’

   evidence, which included previously published analyst reports and other publicly

   available materials, demonstrated that Morgan Stanley’s prediction of a 1-3 year delay

   for the resubmission of the Ozanimod NDA was a short-lived outlier that Morgan

   Stanley quickly revised to be consistent with earlier analyst predictions of shorter

   delays—and that, in any event, the April 29 prediction was based entirely on

   information that had previously been made public. See, e.g., Dkt. Nos. 95-18 through

   95-27. For these reasons, Defendants argued that the class period should end on

   February 27, 2018, the date of the first alleged corrective disclosure.




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          The Court, however, rejected Defendants’ argument without consideration of

   the underlying evidence, reasoning—as some cases had held prior to Goldman Sachs—

   that “a defendant bears the burden to prove a lack of price impact through direct

   evidence.” Class Cert. Opinion at 23 (internal quotation marks omitted). The Court

   held that Defendants were required to present evidence “demonstrating that the

   market had already reacted to news of the Metabolite or the delay caused by additional

   testing, or otherwise explain why the price drop occurred” after the April 29, 2018

   Morgan Stanley report. Id.

          Goldman Sachs, however, has since clarified that, “[i]n assessing price impact at

   class certification, courts ‘should be open to all probative evidence on that question—

   qualitative as well as quantitative—aided by a good dose of common sense.’” 141 S.

   Ct. at 1960 (quoting Allstate, 966 F.3d at 613 n.6). Indeed, “a court cannot conclude

   that Rule 23’s requirements are satisfied without considering all evidence relevant to

   price impact.” Id. at 1961. Thus, regardless of how Defendants’ evidence

   demonstrating that the April 29 Morgan Stanley report was not a corrective disclosure

   is characterized (i.e., “direct” or “indirect” evidence of a lack of price impact), under

   Goldman Sachs, the Court should nonetheless consider it in evaluating whether




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   Defendants have rebutted the Basic presumption of reliance. Defendants respectfully

   request that the Court do so now.6

          B.     Because the April 29 Morgan Stanley Report Was Not a Corrective
                 Disclosure, There Is No Basis to Infer Price Impact from the
                 Stock Drop Following That Report.
          When Defendants’ evidence is fully considered, the April 29, 2018 Morgan

   Stanley report cannot qualify as a corrective disclosure, because Morgan Stanley

   simply used already-public information to offer a guess at when Celgene would be

   able to resubmit the Ozanimod NDA that was more pessimistic than the predictions

   already in the market—and then revised its own prediction only three days later,

   making it consistent with those earlier predictions.




   6
     In light of Goldman Sachs, moreover, the Court should not require evidence
   “demonstrating that the market had already reacted to news of the Metabolite or the
   delay caused by additional testing, or otherwise explain[ing] why the price drop
   occurred” after the April 29, 2018 Morgan Stanley report. See Class Cert. Opinion at
   23. In any event, the parties agree that Celgene’s stock traded in an efficient market at
   all relevant times, see Dkt. No. 94-15 (Tabak Dep.) at 80 (AMF’s expert stating that
   “the semi strong form of market efficiency pertains to this case”); see also Dkt. No. 90-
   2 (Tabak Report) ¶ 59 (AMF’s expert stating that “the evidence strongly supports a
   finding of market efficiency for Celgene’s common stock during the Class Period”)—
   and, “in an efficient market, information important to reasonable investors (in effect,
   the market) is immediately incorporated into stock prices,” United States v. Schiff, 602 F.3d
   152, 174 (3d Cir. 2010) (brackets and internal quotation marks omitted) (emphasis
   added); see also Dkt. No. 94-15 (Tabak Dep.) at 80 (AMF’s expert agreeing that the
   semi-strong form of market efficiency “requires that the price of a stock rapidly
   incorporates all public information”). Thus, the market necessarily had already
   incorporated the news of the Metabolite and the potential delay caused by additional
   testing into the price of Celgene’s stock prior to the April 29 Morgan Stanley report.

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          Courts have recognized that back-end price impact can be disproved (and the

   Basic presumption rebutted) with evidence that the “alleged corrective disclosure

   is . . . merely speculative or negative commentary.” In re Chi. Bridge & Iron Co. N.V.

   Sec. Litig., No. 17-cv-1580, 2019 WL 5287980, at *23 (S.D.N.Y. Oct. 18, 2019)

   (Scheindlin, Special Master), report and recommendation adopted in relevant part, 2020 WL

   1329354 (S.D.N.Y. Mar. 23, 2020). That remains true even if the allegedly corrective

   disclosure provides new “expert analysis” of previously disclosed facts, because such

   “repackaging of already-public information by an analyst or short-seller is simply

   insufficient to constitute a corrective disclosure.” Meyer v. Greene, 710 F.3d 1189, 1199

   (11th Cir. 2013). As the Eleventh Circuit has explained, “if the information relied

   upon in forming an opinion was previously known to the market, the only thing

   actually disclosed to the market when the opinion is released is the opinion itself,” which

   cannot be a corrective disclosure. Id.; see also, e.g., In re Merck & Co., Inc. Sec. Litig., 432

   F.3d 261, 269 (3d Cir. 2005) (a report that merely analyzes previously available data

   that did not move the market “in the period immediately following [its] disclosure” is

   not corrective (internal quotation marks omitted)); In re Omnicom Grp., Inc. Sec. Litig.,

   597 F.3d 501, 512 (2d Cir. 2010) (“A negative journalistic characterization of

   previously disclosed facts does not constitute a corrective disclosure of anything but

   the journalists’ opinions.”); W. Va. Pipe Trades Health & Welfare Fund v. Medtronic, Inc.,

   325 F.R.D. 280, 295 (D. Minn. 2018) (report that analyzed a prior disclosure but “did

   not present any new facts to the market” was not corrective); Stein v. Tangoe, Inc., No.

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   13-cv-286, 2014 WL 12767210, at *22-24 (D. Conn. Sept. 30, 2014) (rejecting claim

   that an analyst report was a corrective disclosure because it was based entirely on

   previously public information).7

         Under these principles, and as clarified by Goldman Sachs, Defendants’

   evidence—whether deemed “direct” or “indirect”—establishes that the April 29, 2018

   Morgan Stanley report cannot qualify as a corrective disclosure. The only portion of

   this report that AMF claims was corrective is Morgan Stanley’s prediction of a delay

   of up to three years for Celgene to resubmit the Ozanimod NDA. See Dkt. No. 94-15

   (Tabak Dep.) at 21-22; Compl. ¶ 502 (noting that analysts attributed the decline in the

   price of Celgene’s stock to this prediction by Morgan Stanley). But analysts had

   already projected delays to resubmit the Ozanimod NDA prior to the April 29 Morgan

   Stanley report. Some analysts even did so immediately after Celgene’s February 27

   announcement of the NDA’s rejection. E.g., Dkt. 95-18 (RBC Capital Markets

   2/27/18 Report). Several such predictions were made or reaffirmed on April 26,


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     Several new cases that post-date Defendants’ opposition to class certification
   reiterate this point. See, e.g., Lau v. Opera Ltd., __ F. Supp. 3d __, 2021 WL 964642, at
   *12 (S.D.N.Y. Mar. 13, 2021) (a “corrective disclosure must ‘purport[] to reveal some
   then-undisclosed fact with regard to the specific misrepresentations alleged in the
   complaint,’” and “[a]lready-public information cannot constitute a corrective
   disclosure” (quoting Omnicom)); SLF Holdings, LLC v. Uniti Fiber Holdings, Inc., 499 F.
   Supp. 3d 49, 71 (D. Del. 2020) (“‘a corrective disclosure obviously must disclose new
   information,’” which cannot happen where “‘the sources used in the [alleged
   corrective disclosure] were already public’” (quoting Meyer)); In re Nektar Therapeutics,
   No. 18-cv-6607, 2020 WL 3962004, at *18 (N.D. Cal. July 13, 2020) (“‘the mere
   repackaging of already-public information by an analyst or short-seller is simply
   insufficient to constitute a corrective disclosure’” (quoting Meyer)).

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   following Celgene’s disclosure of the Metabolite at an April 25, 2018 presentation at

   the annual American Academy of Neurology (“AAN”) meeting. For example,

   pointing to FDA guidance, Jefferies suggested on April 26 that the “FDA would want

   more information which could cause push-out” of Ozanimod’s timeline by 1-2 years.

   Dkt. No. 95-23 (Jefferies 4/26/18 Report) at 1. Similarly, Guggenheim noted that it

   had already “pushed out [its] ozanimod sales forecast by 2 years to 2020 from 2018.”

   Dkt. No. 95-22 (Guggenheim 4/26/18 Report) at 1. Along similar lines, RBC Capital

   Markets indicated that it would “remain at our base case ~1yr delay,” and that

   Celgene’s “shares still look[ed] to reflect negative scenarios.” Dkt. No. 95-24 (RBC

   Capital Markets 4/26/18 Report) at 1. Notably, AMF does not contend that any of

   these reports were corrective disclosures.

         Although Morgan Stanley’s April 29, 2018 report predicted a longer potential

   delay of up to three years to resubmit the Ozanimod NDA, on May 2, 2018—only

   three days later—Morgan Stanley published a follow-up report acknowledging that

   “current expectations have now shifted to a refiling in 1H19 [the first half of 2019]”

   (i.e., in about a year), and noting that the two experts with whom it consulted

   predicted delays that “overlapped at 1-1.5yrs.” Dkt. No. 95-26 (Morgan Stanley

   5/2/2018 Report). In other words, Morgan Stanley’s follow-up May 2 report

   acknowledged that its April 29 prediction of a potential delay of up to three years was

   inaccurate and that it was adjusting its prediction to be consistent with the previous



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   predictions of other analysts. Id.8 When considered in context, as Goldman Sachs

   requires, Morgan Stanley’s April 29, 2018 prediction of a 1-3 year delay thus could not

   be a corrective disclosure, because it did not “actually correct[]” any alleged

   misstatement. See Goldman Sachs, 141 S. Ct. at 1961.

         In any event, Morgan Stanley’s prediction of a 1-3 year delay also cannot have

   been a corrective disclosure because it rested entirely on already-disclosed

   information. In particular, Morgan Stanley’s prediction was based solely on

   (i) Celgene’s identification of the Metabolite; (ii) Morgan Stanley’s “prior review of

   FDA guidance on metabolites”; (iii) posters presented at AAN annual meetings in

   2013 and 2014, which Morgan Stanley described as “previously published . . . results

   and studies” about animal exposure to Ozanimod metabolites; and (iv) a 2013 SEC

   filing by Receptos (the company Celgene had purchased to acquire Ozanimod). Dkt.

   No. 95-16 (Morgan Stanley 4/29/18 Report) at 1-3. As detailed below, Defendants’

   evidence showed that all of this information had previously been disclosed publicly.

         To begin, as noted above, Celgene disclosed the Metabolite’s existence and

   identity at an AAN annual meeting on April 25, 2018. Compl. ¶ 495. At that

   meeting, Celgene also disclosed that the Metabolite was responsible for approximately

   90% of the effect of Ozanimod, that the Metabolite was “first identified . . . in a



   8
    Even Morgan Stanley’s revised prediction, however, turned out to be unduly
   pessimistic, as Celgene submitted the new Ozanimod NDA less than a year later, in
   March 2019. Dkt. No. 95-4.

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   human mass balance study conducted in parallel with the Phase III Ozanimod trials,

   [and] that the Metabolite levels were much lower in the animal species used in the

   non-clinical studies than in humans.” Id.

         Analysts reacted immediately to Celgene’s disclosure of the Metabolite. For

   example, on April 26, Morgan Stanley itself reported that, at the AAN meeting,

   Celgene disclosed “an active metabolite for Ozanimod” that “was first discovered in a

   human mass balance study conducted during the [Phase III] program,” and “was not

   discovered earlier because the levels were very low in animals.” Dkt. No. 95-20

   (Morgan Stanley 4/26/18 Report #1) at 1. Indeed, even before Celgene’s April 25

   disclosure, some analysts had already anticipated that Ozanimod might have a

   significant metabolite. Dkt. 95-18 (RBC Capital Markets 2/27/18 Report); Dkt. No.

   95-19 (Evercore 2/28/18 Report); see also Dkt. 95-2 (Gompers Rep.) ¶ 33.

         Other analysts also immediately recognized the import of Celgene’s April 25

   announcement. On April 26, Guggenheim observed that Celgene had announced the

   identity of a “major metabolite” that was “responsible for ~90% of the efficacy and

   safety demonstrated in the Ozanimod [Phase III] program,” and that “[l]evels of [this

   metabolite] produced in animal species were much less than those produced in human

   subjects.” Dkt. No. 95-22 (Guggenheim 4/26/18 Report) at 1. That same day,

   Jefferies and RBC Capital Markets made similar observations. See Dkt. No. 95-23

   (Jefferies 4/26/18 Report) at 1 (“levels were much lower in the animal species used in

   the non-clinical studies than the amount produced by humans”); Dkt. No. 95-24

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   (RBC Capital Markets 4/26/18 Report) at 1 (“importantly levels are much lower in

   animals”).

         As for the other materials cited in Morgan Stanley’s purportedly corrective

   April 29 report, Morgan Stanley’s “prior review of FDA guidance on metabolites”

   simply referred back to a report Morgan Stanley had previously issued on April 26,

   2018. See Dkt. No. 95-21 (Morgan Stanley 4/26/18 Report #2) at 1. The 2013

   Receptos SEC filing cited in the April 29 report was also publicly disclosed. Dkt. No.

   95-25. Finally, AMF’s own expert admitted that the posters presented at the AAN

   annual meetings in 2013 and 2014—earlier instances of the same meeting at which

   Celgene disclosed the Metabolite in 2018—were also publicly available. Dkt. No. 94-

   15 (Tabak Dep.) at 24-25; see also Dkt. No. 94-1 (Yadava Decl.) ¶ 19. Indeed, Morgan

   Stanley indicated that it was able to locate the posters “over the weekend” and

   included hyperlinks to them in its April 29 report. Dkt. No. 95-16 (Morgan Stanley

   4/29/18 Report) at 1.9


   9
     In its reply brief in support of class certification, AMF argued that Morgan Stanley’s
   April 29, 2018 report was corrective because it was based on allegedly new
   information found in these 2013 and 2014 AAN posters. See Dkt. No. 99 at 23-26; see
   also Compl. ¶¶ 499-500 (describing the posters as containing “certain obscure data”).
   But these posters were hardly “obscure” when they were presented at AAN annual
   meetings and remained public afterwards. And all that Morgan Stanley purportedly
   deduced from the posters was that “exposure of [the Metabolite] in animal models
   was likely below a relevant human therapeutic dose,” Dkt. No. 95-16 (Morgan Stanley
   4/29/18 Report) at 2, which the market already knew from Celgene’s April 25
   disclosure, as was reflected by Morgan Stanley and other analysts then immediately
   reporting that the Metabolite “was first discovered in a human mass balance study”


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          Once fully considered in light of Goldman Sachs, this evidence establishes that

   Morgan Stanley’s April 29 report, apart from any other shortcomings, consisted of

   nothing more than analyst commentary based on previously available facts. As a

   matter of law, this cannot have been a corrective disclosure. See, e.g., In re Chi. Bridge,

   2019 WL 5287980, at *23 (“speculative or negative commentary” is not a corrective

   disclosure); Meyer, 710 F.3d at 1199 (same, with respect to “expert analysis” (internal

   quotation marks omitted)); In re Omnicom Grp., 597 F.3d at 512 (same, with respect to

   “negative journalistic characterization of previously disclosed facts”); Medtronic, 325

   F.R.D. at 295 (same, with respect to “analysts’ reports” that “did not present any new

   facts to the market”); Stein, 2014 WL 12767210, at *22-24 (same, with respect to

   reports containing “a mere negative recharacterization of already public

   information”). And under Goldman Sachs, therefore, one cannot “infer front-end price

   inflation—that is, price impact—from the back-end price drop” following the April

   29, 2018 Morgan Stanley report. 141 S. Ct. at 1961 (explaining that there is “less

   reason” to infer price inflation when it is “less likely” that the disclosure “actually

   corrected” an earlier misrepresentation). Accordingly, Defendants have rebutted the


   and “was not discovered earlier because the levels were very low in animals.” See Dkt.
   No. 95-20 (Morgan Stanley 4/26/18 Report #1) at 1; see also Dkt. No. 95-22
   (Guggenheim 4/26/18 Report) at 1 (similar); Dkt. No. 95-23 (Jefferies 4/26/18
   Report) at 1 (similar); Dkt. No. 95-24 (RBC Capital Markets 4/26/18 Report) at 1
   (similar). Moreover, the fact that Morgan Stanley revised its prediction of a 1-3 delay
   downward to be consistent with the prior consensus of a delay of 1-1.5 years
   underscores that, in the end, the 2013 and 2014 AAN posters contained no significant
   new information.

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   Basic presumption of reliance as to all transactions occurring after February 27, 2018.

   The class period should be shortened accordingly.

                                      CONCLUSION
         For the foregoing reasons, the Court should modify the class period to end on

   February 27, 2018, rather than April 27, 2018.


    Dated: August 30, 2021                      Respectfully submitted,


                                                /s/ Lawrence S. Lustberg

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